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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

  UNITED STATES OF AMERICA
  ex rel. 84 Partners LLC,

                 Plaintiff,

  vs.                                                Case No. 3:14-cv-1256-J-32-PDB

  GENERAL DYNAMICS ELECTRIC BOAT,
  and
  HUNTINGTON INGALLS INDUSTRIES,
  NEWPORT NEWS SHIPBUILDING DIVISION,

              Defendants.
  _____________________________________/


            NOTICE OF APPEARANCE OF GOVERNMENT CO-COUNSEL

            PLEASE TAKE NOTICE that Michal Tingle, Alan S. Gale, and Arnold M.

   Auerhan, attorneys from the United States Department of Justice, Civil Division,

   hereby enter their appearances on behalf of the United States of America, and request

   that the Court direct all notices, orders, and the like to them at the address indicated

   below.

                                              Respectfully submitted,

                                              JEFFREY BOSSERT CLARK
                                              Acting Assistant Attorney General

                                              MARIA CHAPA LOPEZ
                                              United States Attorney
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                                         By: /s/ Charles T. Harden III_
                                             Charles T. Harden III
                                             Assistant United States Attorney
                                             Florida Bar No: 97934
                                             400 North Tampa Street, Suite 3200
                                             Tampa, FL 33602
                                             Telephone: (813) 274-6000
                                             Fax: (813) 274-6200
                                             Email: charles.harden@usdoj.gov
                                             Counsel for the United States of America

                                             JAMIE A. YAVELBERG
                                             MICHAL TINGLE
                                             ALAN S. GALE
                                             ARNOLD M. AUERHAN
                                             Attorneys, Civil Division
                                             Commercial Litigation Branch
                                             U.S. Department of Justice
                                             Post Office Box 261
                                             Washington, D.C. 20044
                                             (202) 307-0278
                                             Email: michal.tingle@usdoj.gov
                                             alan.gale@usdoj.gov
                                             arnold.auerhan@usdoj.gov
                                             Co-counsel for the United States of America




                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 22, 2020 I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notice of electronic

  filing to counsel of record.


                                             /s/ Charles T. Harden III
                                             Charles T. Harden III
                                             Assistant United States Attorney




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